     Case: 1:18-cr-00024 Document #: 10 Filed: 01/31/18 Page 1 of 1 PageID #:49




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

UNITED STATES OF AMERICA
                                             CASE NUMBER: L8 CR 24
                    v.

JIONGSHENG ("JIM") ZHAO

                                       ORDER

      The UNITED STATES OF AMERICA by its attorney, SANDRA MOSER,

Acting Chief ofthe Fraud Section of the Criminal Division, United States Department

of Justice, having moved   this Court for an Exclusion of Time under the Speedy Trial

Act, and having demonstrated good cause in support of its motion.

      IT IS HEREBY ORDERED TTIAT the Court excludes sixty days from the time

within which an information or indictment must be filed, pursuant to Title   18,   United

States Code, Section 3161(hXB).

ENTER:




United States District Judge

DATE: January    3/,   zo13
